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           EXHIBIT 1
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                 IN THE SUPERIOR COURT OF THE VIRGIN ISLANDS
                       DIVISION OF ST THOMAS AND ST JOHN                                   ”o
                            ********‘k***********************                              a          I: (E;



IN THE MATTER OF THE ESTATE OF                      )                              5"                     (a)
JEFFREY E EPSTEIN                                   )       PROBATE NO ST 19 PB 80 a;                    a“;

                             Deceased               3       ACTION FOR TESTATE                  :7,
                                                    )       ADMINISTRATION                       “"

                   EXPEDITED MOTION FOR ESTABLISHMENT OF
                  A VOLUNTARY CLAIMS RESOLUTION PROGRAM

       COME NOW the Co Executors of the Estate of Jeffrey E Epstein (the                 Estate )

DARREN K INDYKE and RICHARD D KAHN and move this Honorable Court for an

expedited order to establish an independent and voluntary claims resolution program (the

“Program”) for purposes of resolving sexual abuse claims against Jeffrey E Epstein, deceased, as

more fully described infra As contemplated by the Co Executors, the Program would provide all

eligible claimants an opportunity to receive compensation and voluntarily resolve their claims of

sexual abuse against Mr Epstein through a conﬁdential, non adversarial alternative to litigation

To be des1gned and implemented by independent, nationally recognized claims administration

experts, with input from interested parties including claimants and their representatives, the

Program would seek to timely resolve these claims through a process that is sensitive to the

experiences and concerns of claimants and treats them with compaSSion, dignity and respect

I      BACKGROUND

       As widely reported in the news media, multiple individuals have asserted or expressed their

intent to assert claims of sexual abuse by Mr Epstein (collectively, the ‘Sexual Abuse Claims”)

To date, twelve lawsuits involving Sexual Abuse Claims have been ﬁled in the state and federal

courts of the State of New York, where claimants assert some of the complained of conduct

occurred, and which recently amended its statute of limitations to permit such claims      These
mmwmemmmWWmW“                                                    a, ”W
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      Estate ofJeffrey Epstem                                                           Probate No ST 19 PB 80
      Motion for Establishment of Compensation Program                                                   Page 2



      lawsuits name as defendants the Estate, the Co Executors, and various entities owned or controlled

      by Mr Epstein prior to his death, as well as purported agents and employees of Mr Epstein or

      those entities

                Pursuant to this Court’s order, Notice to Creditors was duly ﬁrst published on

      September 18, 2019 However, only one Sexual Abuse Claim has so far been ﬁled in the Virgin

      Islands       As noted above, claimants have named the Estate and others in various lawsuits in

      jurisdictions outside the Virgin Islands and, based on media reports and statements by various

      counsel for plaintiffs, the Co Executors anticipate that more Sexual Abuse Claims may be ﬁled in

      various jurisdictions including New York, Florida, New Mexico and France

      Pu_rpose of the Motion

                I    The C0 Executors believe that the interests ofjustice require the Estate to fairly

                     address and timely resolve the Sexual Abuse Claims, no matter where ﬁled, as

                     a matter of national and international importance      As much of the value to

                     claimants lies in the fair and timely resolution oftheir claims, the C0 Executors

                     request that this Court grant the instant Motion expeditiously

                0    Guided by independent, nationally recognized claims administration experts,

                     the Co Executors have worked diligently to begin formulating a comprehensive

                     process for determination and resolution of the Sexual Abuse Claims             If

                     approved by the Court, the Program would provide, to the fullest extent

                     possible, Victims of sexual abuse access to a conﬁdential claims resolution

                     process that does not entail the rigors and publicity of litigation       To our

                     knowledge, this Court is the ﬁrst probate court that has been called upon to

                     approve the establishment of a mass tort type program for achieving the fair,
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Estate ofJeﬂrey Epstem                                                         Probate No ST 19 PB 80
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            independent determination and resolutions of sexual abuse claims ﬁled by

            multiple claimants against a decedent s estate As a matter of public policy

            alone, the urgency of this matter cannot be overstated

         Development of the Program for evaluation and resolutron of the Sexual Abuse Claims, in

a manner designed to evaluate those claims in a conﬁdential manner and to streamline their

determination by the country’s most experienced claims administrators           individuals who have

designed, implemented and administered extensive mass tort programs 1nclud1ng the September

11th Victim Compensation Fund, the Roman Catholic Church sex abuse scandal, the BP

Deepwater Horizon 011 spill in the Gulf of Mexrco, the Agent Orange toxic chemical matter, and

others     would be in the best interests of claimants, the Estate, its creditors and its beneﬁciaries

Accordingly, in order to create a mechanism for the just and efﬁcrent resolution of the Sexual

Abuse Claims that will attract the voluntary participation of claimants, the Co Executors request

the Court’s authorization to use the Estate’s funds to retain the services ofthe claims admrnistration

experts described below, so that they may properly proceed with preparation of the Program and

design of an appropriate protocol to establish a fair, independent claims resolution process

II       PROPOSED EPSTEIN VICTIMS COMPENSATION PROGRAM

         As contemplated by the Co Executors, the proposed Epstein Victims’ Compensation

Program would ultimately function as follows

         Participation in the Program by claimants would be entirely voluntary, and would not affect

any rights a claimant has, unless and until the claimant accepts the Program s compensation

determination and executes a release       All claimants would be afforded an opportunlty to meet

with the Program Administrator (described below) if they so desire, and will be treated with

compass1on, dignity and respect The planned Sltus of the Program would be in New York, where
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the majority of the Sexual Abuse Claims thus far have been ﬁled, in order to alleviate the burden

ofrequiring claimants to travel to the Virgin Islands Proceeding in that forum would also provide

claimants and their counsel w1th easier access to the Program Administrator, who is highly

qualiﬁed and experienced with this type of claims process, and is therefore likely to reduce the

overall costs of Program administration The Program would be open to claimants wherever they

are located, and would use an electronic ﬁling system to make the process available regardless of

the claimant’s location

        A       PROPOSED MECHANICS AND ADMINISTRATION OF THE
                PROGRAM

        If this Court authorizes the C0 Executors to proceed w1th development of the proposed

Program, a detailed Program protocol (the “Protocol”) would be designed by the claims

administration experts, with input from the C0 Executors and those With an interest in resolution

of the Sexual Abuse Claims (including claimants and their representatives), and submitted to the

Court for its approval

        A ten point summary of the contemplated Program follows

                1        Participation in the Program would be entirely voluntary

                2        The Program would be available to all claimants with sexual abuse claims
                         against Mr Epstein who satisfy certain eligibility criteria, as deﬁned in the
                         Protocol

                3        While strict conﬁdentiality will be required of the Program Administrator
                         and the Estate, each claimant would be free to disclose any and all
                         information concerning her participation in the Program, at claimant s sole
                         discretion, including information concerning the mechanics of the Program
                         and the resolution of her claim

                4        Claimants who elect to ﬁle a claim with the Program would be invited to
                         provide documentation identiﬁed in a claim form to be developed by the
                         claims administration experts, and any additional corroborating or
                         supporting information to help substantiate their claim
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                5       All claimants would be afforded a voluntary, conﬁdential opportunity to
                        meet with the Program Administrator to provide additional information that
                        may bear upon evaluation of their claims

                6       Claims would be processed promptly and efﬁc1ently Claimants would be
                        notiﬁed of any deﬁc1ency that prevents processing of their claim and
                        provided an opportunity to cure that deﬁciency

                7       Once a completed claim has been submitted, the Program Administrator
                        would evaluate that claim based on all available information and would
                        determine whether the claimant is eligible to receive compensation and the
                        amount of compensation to be paid This independent, individual
                        determination will be based on factors and criteria identiﬁed in the Protocol
                        The Estate will have no authority to reject or modify the independent
                        determination of the Program Administrator

                8       Upon issuance of a compensation determination by the Program
                        Administrator, the claimant would have complete freedom to accept or
                        reject that determination If the claimant elects to accept the determination,
                        the claimant would execute a release waiving her right to litigate any claims
                        she may have against any person or entity arising from or related to Mr
                        Epstein’s conduct, as set forth in the Protocol         Upon the Program
                        Administrator 5 receipt of the claimant’s acceptance of the compensation
                        determination and an executed release, the Program Administrator would
                        approve payment The approval of any claim by the Program Administrator
                        will be deemed to have the effect of a claim “examined and approved”
                        within the meaning of 15 V I C § 394, and, as already indicated, the Co
                        Executors would have no authority to reject or modify the Program
                        Administrator’s determination of any compensatory award made in
                        accordance with the Protocol

                9       The Program Administrator will submit status reports to the Court on a
                        quarterly basis to provide updated information regarding the progress of the
                        Program, including the number of claims received, the number of claims
                        reviewed, the number of claims approved for payment, the aggregate value
                        of determinations issued, the aggregate value of determinations accepted,
                        and the aggregate value of determinations issued

                10      Followrng conclusion of the Program, the Program Administrator would
                        issue a Final Report to the Court and the Co Executors summarizing the
                        Program
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               B       PROPOSED CLAIMS PROCESS FOR PROGRAM PARTICIPATION

               With respect to the timing and notice of claims, the Program would, if approved by the

       Court, establish an effective commencement date and deadline for submission of all claims         A

       claim form would be developed by the Program Administrator and disseminated to all known

       claimants identiﬁed in a conﬁdential database      Instructions for completing the form would be

       included along with the form The Program would operate and maintain a website that prov1des

       general information about the Program, including the Protocol, Frequently Asked Questions, and

       information about ﬁling deadlines Contact information for the Program would also be available

       on the Program website       That website would also allow claimants, directly or through their

       representatives, to register a new claim and/or upload their claim form or supporting documents to

       facilitate submission and processing of individual claims

               C       PROPOSED DESIGN, IMPLEMENTATION AND ADMINISTRATION
                       OF THE PROGRAM

               To establish the Program and deSign and implement the Protocol, the Co Executors

       propose engaging the services of independent, nationally recognized experts in this ﬁeld

       Jordana H Feldman, Kenneth R Feinberg and Camille S Biros, whose credentials are discussed

       in Section D below The Protocol developed by these experts with input ﬁom the Co Executors

       and those with an interest in resolution of the Sexual Abuse Claims (including claimants and their

       representatives), would include eligibility criteria, the methodology for determining compensatory

       damages, proof requirements and claims procedures, and timing, as follows

               -   Eltgtbtltty Identifying the criteria to determine whether a claimant is eligible to
                   receive compensation under the Program

               0   Determmatlon Methodology Deﬁning the factors and considerations to be used to
                   determine the amount of compensation to be offered to any eligible claimant
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         0   Proof Requirements and Claims Procedures Determining what types of
             supporting documentation or other evidence each individual may be required to
             submrt to substantiate the claim, satisfy Protocol requrrements, and allow the
             Program Administrator to review, process and evaluate the cla1m

         -   Timing Expressly stating the timeﬁarne of the Program, including an effective
             commencement date and deadline for submission of all claims

         In addition to leadlng the design and implementation of the Program, Ms Feldman would

 serve as the Program Administrator and would administer the Program and process all claims The

 Program Administrator would have ﬁnal decision making authority relatrng to the administration,

 evaluation and valuation of claims As noted above, the approval of any claim by the Program

 Administrator will be deemed to have the effect of a claim “examlned and approved” within the

 meaning of 15 VIC § 394

         D       CREDENTIALS OF PROGRAM ADMINISTRATOR AND DESIGNERS

         The Program Administrator and Program Designers’ qualiﬁcations for participation in the

 Program are set forth below

                 1        Jordana H Feldman (Program Administrator & Designer)

                          .   Ms Feldman has spent her career engaged in the design,
                              implementation and administration ofmass tort claims programs
                              and complex settlements as effective and creatrve alternatlves to
                              litigation

                          0   Until recently, Ms Feldman served as the Deputy Special
                              Master and Director of the New York Ofﬁce of the September
                              11th Victim Compensation Fund (“VCF”), the litigation
                              alternative program establlshed in 2001 and reopened in 201 1 to
                              compensate indivrduals who have become sick or died as a result
                              of their September 11th related exposure, and admimstered by
                              the United States Department of Justice She has worked on the
                              VCF for over ten years, playing a key role in developing
                              guidelines for eligibility and the valuation of losses, and
                              adjudicating thousands of claims, valued in the aggregate over
                              $12 billion In that position, she has extensive experience
                              interviewing victims of the September 11 tragedy
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                        0   Before joining the Justice Department to work on the VCF, Ms
                            Feldman worked in the complex dispute resolution practice at
                            the law ﬁrm Dickstein Shapiro, LLP, where she represented
                            clients in the design, implementation and administration of
                            complex settlements and mass claims resolution programs
                            arising out of class actions, legislation and Chapter 11
                            bankruptcy reorganizations Before working at Dickstein
                            Shapiro, LLP, Feldman worked as a litigation associate at Fried,
                            Frank, Harris, Shriver & Jacobson

                        0   Ms Feldman is the co author of the Master Gutde to Mass
                            Claims Resolution Factlztles (2011) and graduated in 2000 from
                            the University of Pennsylvania Law School She received her
                            undergraduate degree magna cum laude in 1997 from the
                            University of Pennsylvania

                2       Kenneth R Feinberg (Program Demgner)

                        0   Mr Feinberg IS the nation’s leading expert in mediation and
                            alternative dispute resolution, and the founder of the Law
                            Ofﬁces of Kenneth R Feinberg, PC He has been appointed to
                            administer numerous high proﬁle compensation programs,
                            having served as special master of the September 11th Victim
                            Compensation Fund, the Troubled Asset Relief Program
                            (‘TARP”) Executive Compensation Program, and the Agent
                            Orange Victim Compensation Program

                        0   Mr Feinberg and his colleague Cam1116 Biros have designed and
                            implemented       the   New   York   Archdiocese     Independent
                            Reconciliation and Compensation Program for resolution of
                            claims of sexual abuse of minors by members of the clergy, as
                            well as similar compensation funds for the Dioceses ofBrooklyn
                            and Rockville Centre New York and for Dioceses in the states
                            of California, Colorado New Jersey and Pennsylvania

                        0   Mr Feinberg has served as adjunct professor of law at Harvard
                            Law School, Columbia Law School, University of Pennsylvania
                            School of Law, Georgetown University Law Center, New York
                            University School of Law, University of Virginia School of
                            Law, and Benjamin N Cardozo School of Law Before his
                            academic career, he served as an Assistzmt U S Attorney for the
                            Southern District of New York, special counsel for the U S
                            Senate Committee on the Judiciary, and founding partner of the
                            Washington ofﬁce of the law ﬁrm Kaye Scholer LLP, among
                            other positions
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                         I   Mr Feinberg graduated from New York Univer51ty School of
                             Law in 1970 and received his undergraduate degree in 1967
                             from the Umversity ofMassachusetts

                 3       Camille S Blros (Program Designer)

                         0   Ms Biros is a natlonally recognized expert in the design,
                             implementation and adm1n1stration of public and private
                             compensation programs      She currently serves as Director,
                             Claims Administration, at the Law Ofﬁces of Kenneth R
                             Felnberg P C

                         0   Ms Biros and Mr Femberg have designed and implemented the
                             New York Archdiocese Independent Reconciliation and
                             Compensation Program for resolution of claims of sexual abuse
                             of minors by members of the clergy, as well as similar
                             compensation funds for the Dioceses of Brooklyn and Rockville
                             Centre, New York and for Dioceses in the states of California,
                             Colorado, New Jersey and Pennsylvania Ms Biros has served
                             as the primary Administrator of these various funds

                         0   Ms Biros has also served as Adminlstrator of the DuPont
                             Medical Monitoring Program, Deputy Administrator ofthe Gulf
                             Coast Claims Facility aﬂer the BP Deepwater Horizon oil spill,
                             Deputy Administrator of the GM Ignition Switch Compensation
                             Program and Deputy Spec1al Master of the September 11th
                             Victim Compensation Fund

III      REQUEST FOR RELIEF

         In their ﬁduc1ary capacity, the Co Executors have engaged 1n discussions with relevant

parties in interest regarding the independent, fair and timely resolution of the Sexual Abuse

Claims       It is their understanding that many existing and potential claimants would prefer to

participate in the Program, if fairly and expeditiously administered, rather than proceeding with

litigation     Furthermore    although there would be signiﬁcant expense in developing and

administering the Program, the Co Executors anticipate that the Program would substantially

reduce the expenses to the Estate oflitigatlng multiple lawsuits in numerous jurisdictions, and thus

would ultimately reduce expenses to the beneﬁt of all parties with an interest in the Estate,
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including claimants and creditors 1 The expedited nature of the planned Program would also

ensure resolution and compensation to claimants in a far more timely manner than through

litigation Additionally, the Protocol associated with the Program would be designed to ensure the

proportionate restitution of approved claims for all claimants, in a manner that would provide

similar compensation to similarly situated claimants                The C0 Executors submit that such a

Program is in the best interests of both the claimants and the Estate because, among other things,

it avoids the potential of disproportionate and inconsistent awards and should help to reduce the

time, expense and burden of handling claims through the courts, which could involve years of

litigation and appeals and consume enormous resources, along with inﬂicting costs attendant to

delay and uncertainty on all affected parties

        Rule 1 ofthe Virgin Islands Probate and Fiduciary Rules states that, “[w]here no procedural

provision is included herein, procedures set forth in the Virgin Islands Rules of Civil Procedure

may be adapted by the court as appropriate             In this regard, Rule 90 of the Virgin Islands Rules

of Civil Procedure eVinces a clear intent in favor of the use of alternative dispute resolution to

resolve civil disputes Thus, it is respectfully submitted that the establishment here of a voluntary

claims resolution program is within the Court’s authority and would serve the interests ofjustice

Furthermore, development and implementation of the Program, and the claims process

contemplated therein, is within the Court’s sound discretion to establish a process by which the

rights of claimants Will be fairly and efﬁciently ascertained and administered See 5 V I C § 1264




1   Such lawsuits have already begun to generate substantial costs and fees for both the Estate and claimants The
    expenses of litigation are expected to ratchet up signiﬁcantly in coming months absent implementation of the
    Program as an alternative path for resolution of the Sexual Abuse Claims
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(allowing the court to declare rights, status and other legal relations of various classes of creditors

or other interested parties of a trust or estate)

        At this juncture, the Co Executors seek the Court’s authorization to use Estate ﬁmds to

retain the services of the proposed Program Administrator and Program Designers                    Ms

Feldman, Mr Feinberg and Ms Biros             so that they may promptly proceed with preparation of

the Program and design of the Protocol to establish a fair, independent claims resolution process

Once the Protocol is developed and ﬁnalized, the C0 Executors would submit 1t to the Court for

approval and would seek an order to formally commence claims resolution proceedings under the

Program

        Finally, the Co Executors seek the Court’s approval to submit under seal the proposed

engagement agreement of the Program Administrator and Program De51gners, as it rs proprietary

to the extent 1t establishes a methodology and formula for their compensation Given the very

small group of people suﬂiCIently qualiﬁed to design, implement and admimster the proposed

Program and contemplated Protocol, the terms under which they are engaged would be subject to

intense scrutiny and may have the umntended effect of distracting from the Program The Co

Executors will of course dlsclose the fees for services rendered by the Program Administrator and

Program Designers as they are accounted for by the Estate
”WWW


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Motion for Establishment of Compensation Program                                               Page 12



        WHEREFORE, the Co Executors request the expedited entry of an Order grmiting the

relief requested herein substantially in the form of the attached proposed order

                                                   Respectfully
                                                           /_
Dated November 14 2019
                                                   CHRISTOPHER ALLEN KROBLIN ESQ
                                                   ANDREW W HEYMANN, ESQ
                                                   WILLIAM L BLUM ESQ
                                                   SHARI N D ANDRADE ESQ
                                                   MARJORIE WHALEN ESQ
                                                   VI Bar Nos 966 266 136 1221 & R2019
                                                   KELLERHALS FERGUSON KROBLIN PLLC
                                                   Royal Palms Professwnal Bullding
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                                                   St Thomas V I 00802
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                                                   Email ckroblin@kellfer com
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                                                          wblum@solblum com
                                                          sdandrade@kellfer com
                                                         mwhalen@kellfer com
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                        IN THE SUPERIOR COURT OF THE VIRGIN ISLANDS
                              DIVISION OF ST THOMAS & ST JOHN
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       IN THE MATTER OF THE ESTATE OF                         )
       JEFFREY E EPSTEIN                                      )       PROBATE NO ST 19 PB 80
                                                              )
                                      Deceased                )       ACTION FOR TESTATE
                                                              b       ADMINISTRATION


                                                     ORDER

               THIS MATTER is before the Court on the Co Executors’ Expedited Motion for

       Establrshment of a Voluntary Claims Resolution Program             Having reviewed the motion, the

       Court will grant the same

               Accordingly, it is hereby

               ORDERED that the Co Executors Motion is GRANTED, and it is further

               ORDERED that the Co Executors shall submit to the Court, under seal, the proposed

       engagement agreement for the Program Administrator and Designers (as deﬁned in the Motion)

       for approval and authorization, and it IS further

               ORDERED that a copy of thrs Order shall be directed to counsel of record



       Dated
                                                                  CAROLYN P HERMON PERCELL
                                                                  Magistrate Judge of the Superior Court
                                                                           of the Virgin Islands

       ATTEST ESTRELLA H GEORGE
       Clerk of the Court

       BY

       Court Clerk Supervisor          /         /
